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                       Exhibit 3
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                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                              CHARLESTON DIVISION

 B.P.J. by her next friend and mother, HEATHER
 JACKSON,

                             Plaintiff,

                       v.                                Civil Action No. 2:21-cv-00316

 WEST VIRGINIA STATE BOARD OF                            Hon. Joseph R. Goodwin
 EDUCATION, HARRISON COUNTY BOARD
                                                       PLAINTIFF’S SECOND SET OF
 OF EDUCATION, WEST VIRGINIA
                                                       SUPPLEMENTAL RESPONSES AND
 SECONDARY SCHOOL ACTIVITIES
                                                       OBJECTIONS TO DEFENDANT THE
 COMMISSION, W. CLAYTON BURCH in his
                                                       STATE OF WEST VIRGINIA’S
 official capacity as State Superintendent, DORA
                                                       FIRST SET OF INTERROGATORIES
 STUTLER in her official capacity as Harrison
                                                       AND REQUESTS FOR
 County Superintendent, and THE STATE OF
                                                       PRODUCTION
 WEST VIRGINIA,

                             Defendants,

                       and

 LAINEY ARMISTEAD,

                             Defendant-Intervenor.

       Pursuant to Federal Rules of Civil Procedure Rules 26 and 34, Plaintiff B.P.J. by her next

friend and mother, Heather Jackson, responds as follows to Defendant the State of West Virginia’s

(“Defendant”) First Set of Interrogatories (“Interrogatories”) and Requests for Production

(“Requests”):

                                   GENERAL RESPONSES

   1. B.P.J.’s response to the Interrogatories and Requests is made to the best of B.P.J.’s present

       knowledge, information, and belief. This response is at all times subject to such additional

       or different information that discovery or further investigation may disclose and, while

       based on the present state of B.P.J.’s recollection, is subject to such refreshing of
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     recollection, and such additional knowledge of facts, as may result from B.P.J.’s further

     discovery or investigation.

  2. To the extent B.P.J. agrees to produce documents or information in response to any

     particular Interrogatory or Request, B.P.J. will produce only non-privileged, responsive

     documents in her possession, custody, or control, and in accordance with Exhibit A of the

     parties’ Rule 26(f) report filed on September 7, 2021 (ECF No. 92-1) in this action.

  3. B.P.J. has no duty to, and will not, produce or identify documents or information that are

     not in her possession, custody, or control. By stating in these responses that B.P.J. will

     search for or produce documents or information, B.P.J. does not represent that any such

     documents or information actually exist. Rather, B.P.J. represents that she will undertake

     a good-faith search and reasonable inquiry to ascertain whether the documents or

     information described in any such response do, in fact, exist, and, if so, will produce

     responsive, non-privileged documents or information within B.P.J.’s possession, custody,

     or control in accordance with Exhibit A of the parties’ Rule 26(f) report filed on September

     7, 2021 (ECF No. 92-1) in this action.

  4. B.P.J. reserves the right to make any use of, or to introduce at any hearing and at trial,

     documents responsive to the Interrogatories or Requests but discovered subsequent to the

     date of B.P.J.’s initial production, including, but not limited to, any documents obtained in

     discovery herein.

  5. B.P.J. reserves the right to decide whether the documents produced for inspection shall be

     produced as they are kept in the usual course of business or shall be organized and labeled

     to correspond with the categories in the Interrogatories or Requests, in accordance with

     Federal Rule of Civil Procedure 34(b).
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   6. B.P.J. reserves all objections or other questions as to the competency, relevance,

       materiality, privilege, or admissibility as evidence in any subsequent proceeding in or trial

       of this or any other action for any purpose whatsoever of this response and any document

       or thing produced in response to the Interrogatories or Requests.

   7. B.P.J. reserves the right to object on any ground at any time to such other or supplemental

       requests for production as Defendant may at any time propound involving or relating to the

       subject matter of these Interrogatories or Requests.

   8. B.P.J. is willing to meet and confer with Defendant regarding any response or objection to

       the Interrogatories or Requests.

                                   GENERAL OBJECTIONS

       B.P.J. makes the following general objections, whether or not separately set forth in

response to each Interrogatory or Request, to each and every Definition, Instruction, Interrogatory,

and Request made in Defendant’s First Set of Interrogatories and Requests for Production:

   1. B.P.J. objects generally to all Definitions, Instructions, Interrogatories, and Requests

       inclusive, insofar as each such request seeks production of documents or information

       protected by the attorney-client privilege, the work product doctrine, or any other

       applicable privilege. Such documents or information shall not be produced in response to

       the Interrogatories or Requests, and any inadvertent production thereof shall not be deemed

       a waiver of any privilege or right with respect to such documents or information or of any

       work product doctrine that may attach thereto.

   2. B.P.J. objects to all Definitions, Instructions, Interrogatories, and Requests inclusive, to the

       extent they purport to enlarge, expand, or alter in any way the plain meaning and scope of
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       any specific request on the ground that such enlargement, expansion, or alteration renders

       said request vague, ambiguous, unintelligible, unduly broad, and uncertain.

   3. B.P.J. objects to all Definitions, Instructions, Interrogatories, and Requests inclusive, to the

       extent they seek documents not currently in B.P.J.’s possession, custody, or control, or

       refer to persons, entities, or events not known to B.P.J., on the grounds that such

       Instructions, Definitions, Interrogatories, or Requests seek to require more of B.P.J. than

       any obligation imposed by law, would subject B.P.J. to unreasonable and undue burden

       and expense, and would seek to impose upon B.P.J. an obligation to investigate or discover

       information or materials from third parties or services who are equally accessible to

       Defendant.

   4. B.P.J.’s failure to object to the Interrogatories or Requests on a particular ground shall not

       be construed as a waiver of her right to object on that ground or any additional ground at

       any time.

         SPECIFIC OBJECTIONS AND RESPONSES TO INTERROGATORIES

       Without waiving or limiting in any manner any of the foregoing General Objections, but

rather incorporating them into each of the following responses to the extent applicable, B.P.J.

responds to the specific requests of Defendant’s First Set of Interrogatories as follows:

Interrogatory No. 1:

   1. Identify each and every Health Care Provider who has examined or treated the Plaintiff at

       any point during the last 7 years. For each Health Care Provider identified, state:

           a. The date of each consultation, examination or treatment;

           b. The injury, illness, condition, complaint or other reason or purpose for which each

               examination or treatment was conducted; and
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           c. Whether the injury, illness, condition, or complaint for which the examination or

               treatment was performed had been relieved or successfully, and if so, the

               approximate date of relief or completion of successful treatment.

B.P.J.’s Response To Interrogatory No. 1:

        B.P.J. objects to this Interrogatory on the ground that it is overbroad, unduly burdensome,

not relevant to a claim or defense, and not proportional to the needs of the case, as it seeks medical

information unrelated to B.P.J.’s gender dysphoria diagnosis, and B.P.J. has specifically

disclaimed any claim for damages based on emotional distress. In addition to being overbroad and

unduly burdensome, B.P.J. objects to the Interrogatory on the ground that the period of time of

“the last 7 years” far exceeds any period relevant to this action and therefore Defendant improperly

seeks the production of information that is not material or necessary to any claim or defense in this

action. B.P.J. additionally objects to this Interrogatory to the extent that it seeks documents

protected by any applicable psychotherapist-patient privilege.

        Subject to these general and specific objections, and without waiver thereof, B.P.J.

provides the following responses regarding B.P.J.’s treatment for gender dysphoria. For the

specific dates of each consultation, examination, or treatment, B.P.J. refers Defendant to the

documents Bates stamped as BPJ_012 – BPJ_95 in the production.

 Name                    Position/Business            Address                      Phone Number
                         Affiliation
 Gerald Montano          DO, UPMC Children’s          4401 Penn Avenue             412-692-6677
                         Hospital of Pittsburgh       Pittsburgh, PA 15224

 Kacie M. Kidd           MD, WVU Department           PO Box 9214                  412-692-6677
                         of Pediatrics                Morgantown, WV 26506

                         Division of Adolescent
                         Medicine
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 Matthew D. Brunner       MD, West Virginia            930 Chestnut Ridge Road 304-598-4835
                          University Hospitals -       Morgantown, WV 26505
                          Chestnut Ridge Center

 Parth Bhatt              MD, Bridgeport               900 Lodgeville Road           304-842-3311
                          Pediatrics, West             Bridgeport, WV 26330
                          Virginia University



B.P.J.’s Supplemental and Amended Response to Interrogatory No. 1:

        B.P.J. reiterates her specific objections stated in her initial response to Interrogatory No. 1,

and objects to Interrogatory No. 1 as overbroad, seeking irrelevant information, and not

proportional to the needs of the case. As noted in correspondence between the parties, this case

involves a straightforward constitutional challenge to H.B. 3293’s exclusion of transgender girls

from girls’ sports teams, and there is no basis for turning this case into an irrelevant medical

examination of B.P.J.

        During Plaintiff’s investigation and active process of seeking medical records from her

providers, Plaintiff identified additional providers that had not been disclosed in her initial set of

responses. Subject to and without waiving her General and Specific Objections, without waiver

thereof, and without conceding the relevance of this information, B.P.J. therefore supplements her

response as follows:

 Name                     Position/Business            Address                       Phone Number
                          Affiliation
 Jean R. Someshwar        MD, West Virginia            61 Campus Drive               304-274-6343
                          University Hospitals         Martinsburg, WV 25404

 Bradley Mitchell         MD, FAAP, Cardinal           139 Conference Center         304-599-8000
                          Pediatrics                   Way, Suite 113
                                                       Bridgeport, WV 26330
 Cardinal Pediatrics                                   Cardinal Pediatrics           304-599-8000
                                                       139 Conference Center
                                                       Way, Ste. 113
                                                       Bridgeport, WV 26330
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 Amanda Pennington      MD, Pediatrics             Davis Medical Center         304-636-3300
                                                   812 Gorman Ave.
                                                   Elkins, WV 26241

       Plaintiff also amends her previous response, which had incorrectly identified one of

B.P.J.’s medical providers as “Dr. Matthew D. Brunner,” to “Matthew D. Bunner.”

Interrogatory No. 2:

   2. Identify each and every document provided to any expert or consultant with whom you

       have consulted, met or counseled in connection with this case and the experts and

       consultants to whom such documents were provided. This includes without limitation those

       whom you identified as experts in Plaintiff’s Motion for Preliminary Injunction and experts

       and consultants whom you determined to not use as an expert or consultant in this case.

B.P.J.’s Response To Interrogatory No. 2:

       B.P.J. objects to this Interrogatory as seeking discovery of information or documents that

are beyond the scope of expert discovery permitted by Federal Rule of Civil Procedure 26(b)(4)

and protected by the attorney-client privilege and/or the attorney work-product doctrine.

Defendant’s request that B.P.J. identify “each and every document” provided to “any” expert or

consultant in the course of and in preparation of this litigation directly seeks work product-

protected material, because such information and documents would disclose the thoughts, mental

impressions, and strategic decisions of counsel.

       Subject to these general and specific objections, and without waiver thereof, B.P.J. will

provide appropriate, non-privileged information in response to this Interrogatory pursuant to the

Court’s Scheduling Order (ECF No. 93) and at the appropriate time.
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Interrogatory No. 3:

   3. Identify each and every employee, member, agent, and representative of any of the

        defendants with whom you have had discussions regarding Plaintiff’s status or identity as

        a girl/female or boy/male or regarding Plaintiff’s participation in sports or athletic events,

        including Plaintiff’s participation in track and field events and the cheer team in which

        Plaintiff participated.

B.P.J.’s Response To Interrogatory No. 3:

        B.P.J. objects on the ground that Defendant has failed to identify any limitation on period

of time, and therefore Defendant improperly seeks the production of information that is not

material or necessary to any claim or defense in this action. B.P.J. further objects to the phrase

“Plaintiff’s status or identity as a girl/female or boy/male” as vague, ambiguous, and overbroad.

B.P.J. further objects to this Interrogatory on the ground that it is overbroad, unduly burdensome,

and not proportional to the needs of the case, as it seeks the identities of all parties who may at any

time have spoken to B.P.J. and/or any of her “agents, guardians, parents, representatives, and . . .

attorneys” regarding B.P.J.’s “status,” regardless of whether those communications are relevant to

a claim or defense.

        Subject to these general and specific objections, and without waiver thereof, B.P.J. will

identify the representatives of Defendants that she and/or her mother communicated with regarding

B.P.J.’s gender identity or athletics. Accordingly, B.P.J. responds as follows:

 Name                 Position/Business      Address              Phone Number
                      Affiliation

 David Mazza          Principal, Bridgeport 413 Johnson Ave 304-326-7142
                      Middle School         Bridgeport, WV
                                            26330
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    Danyelle           Cross-Country           413 Johnson Ave 304-326-7142
    Schoonmaker        Coach and Teacher,      Bridgeport, WV
                       Bridgeport Middle       26330
                       School

    Rachel Miller      Head of                 P.O. Box 22          RAEYATES52@GMAIL.COM 1
    Yates              Cheerleading,           Bridgeport, WV
                       Bridgeport Youth        26330
                       Football League

    Dustin B.          Board Member,           P.O. Box 22          304-842-0778
    Vincent            Bridgeport Youth        Bridgeport, WV
                       Football League         26330

    Sarah Starkey      MSW, LGSW,              445 W. Main          304-326-7300
                       Social Worker,          Street
                       Harrison County         Clarksburg, WV
                       Board of Education      26301

    Amber Davis        Guidance Counselor, 8128 Kidd Ave            304-326-7050
                       Harrison County     Stonewood, WV
                       School District     26301

    Lauren Merrill     Counselor,              413 Johnson Ave 304-326-7142
                       Bridgeport Middle       Bridgeport, WV
                       School                  26330


B.P.J.’s Supplemental Response to Interrogatory No. 3:

           B.P.J. reiterates her specific objections stated in her initial response to Interrogatory

No. 3.

           In addition to her initial response, subject to the general and specific objections, and

without waiver thereof, B.P.J. supplements her response as follows:

    Name                   Position/Business         Address                 Phone Number
                           Affiliation

    David Mazza            Principal, Bridgeport     413 Johnson Ave         304-326-7142
                           Middle School             Bridgeport, WV
                                                     26330

1
  Plaintiff was unable to identify a phone number for Ms. Yates, and thus provides an email address
in the alternative.
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    Danyelle            Cross-Country and        413 Johnson Ave         304-326-7142
    Schoonmaker         Track Coach and          Bridgeport, WV
                        Teacher, Bridgeport      26330
                        Middle School

    Rachel Miller Yates Head of Cheerleading,    P.O. Box 22             RAEYATES52@GMA
                        Bridgeport Youth         Bridgeport, WV          IL.COM 2
                        Football League          26330

    Dustin B. Vincent   Board Member,            P.O. Box 22             304-842-0778
                        Bridgeport Youth         Bridgeport, WV
                        Football League          26330

    Sarah Starkey       MSW, LGSW, Social        445 W. Main Street      304-326-7300
                        Worker, Harrison         Clarksburg, WV
                        County Board of          26301
                        Education

    Amber Davis         Guidance Counselor,      8128 Kidd Ave           304-326-7050
                        Harrison County          Stonewood, WV
                        School District          26301

    Lauren Merrill      Counselor, Bridgeport    413 Johnson Ave         304-326-7142
                        Middle School            Bridgeport, WV
                                                 26330

    David Robinson      Track Coach,             413 Johnson             304-842-6251
                        Bridgeport Middle        Avenue
                        School                   Bridgeport, WV
                                                 26330

    Meghan Flesher      Track Coach,             413 Johnson             304-842-6251
                        Bridgeport Middle        Avenue
                        School                   Bridgeport, WV
                                                 26330




2
  Plaintiff was unable to identify a phone number for Ms. Yates, and thus provides an email address
in the alternative.
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Interrogatory No. 4:

    4. Identify each and every West Virginia legislator or staff member thereof (whether in the

        Senate or the House of Delegates) with whom you communicated with respect to

        participation of transgender athletes in sports or regarding H.B. 3293 or W. Va. Code §18-

        2-25d, during the period from January 1, 2021, to the present.

B.P.J.’s Response To Interrogatory No. 4:

        B.P.J. objects on the ground that the period of time from January 1, 2021, to the present

includes a time period predating counsel for B.P.J.’s participation in this case, and thus such period

is not relevant to this action and is not relevant to any claim or defense in this action. B.P.J. further

objects to this Interrogatory on the ground that it is overbroad, unduly burdensome, and not

proportional to the needs of the case, as it seeks the identities of all third-party “West Virginia

legislator[s] or staff member[s]” who have communicated to B.P.J. and/or any of her “agents,

guardians, parents, representatives, and . . . attorneys,” regardless of whether those third-parties or

communications are relevant to the claims or defenses at issue in this action.

        Subject to these general and specific objections, and without waiver thereof, B.P.J. will

provide the identities of those West Virginia legislators or staff members that she or her

representatives have communicated with in respect to the participation of transgender athletes in

sports or regarding H.B. 3293 after the date of B.P.J.’s retention of legal counsel for this case.

Accordingly, B.P.J. responds that she does not have information responsive to this Interrogatory.

B.P.J.’s Supplemental Response to Interrogatory No. 4:

        Subject to and without waiving her General and Specific Objections, without waiver

thereof, and without conceding the relevance of this information, B.P.J. provides the identities of
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those West Virginia legislators or staff members that she or her mother has communicated with in

respect to the participation of transgender athletes in sports or regarding H.B. 3293.

 Name                    Position/Business            Address                      Phone Number
                         Affiliation
 Mike Romano             Senator, West Virginia       Room 200W, Building 1        304-357-7904
                         State Senate                 State Capitol Complex
                                                      Charleston, WV 25305
 Patrick S. Martin       Senator, West Virginia       Room 213W, Building 1        304-357-7845
                         State Senate                 State Capitol Complex
                                                      Charleston, WV 25305


Interrogatory No. 5:

   5. Identify each and every school board member or other public employee with whom you

        communicated with respect to participation of transgender athletes in sports or regarding

        H.B. 3293 or W. Va. Code §18-2-25d, during the period from January 1, 2021, to the

        present.

B.P.J.’s Response To Interrogatory No. 5:

        B.P.J. objects to this Interrogatory on the ground that it is overbroad, unduly burdensome,

and not proportional to the needs of the case, as it seeks the identities of all third-party “school

board member[s] or other public employee[s]” who have communicated to B.P.J. and/or any of

her “agents, guardians, parents, representatives, and . . . attorneys,” regardless of whether those

third-parties or communications are relevant to the claims or defenses at issue in this action. B.P.J.

further objects to the phrase “other public employee” as vague, ambiguous, and overbroad.

        Subject to these general and specific objections, and without waiver thereof, B.P.J. will

identify the school authorities that she and/or her mother communicated with at B.P.J.’s

elementary or middle school regarding B.P.J.’s participation in athletics or regarding H.B. 3293.

Accordingly, B.P.J. responds as follows:
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 Name                   Position/Business       Address              Phone Number
                        Affiliation

 David Mazza            Principal, Bridgeport   413 Johnson Ave      304-326-7142
                        Middle School           Bridgeport, WV
                                                26330

 Danyelle Schoonmaker   Cross Country           413 Johnson Ave      304-326-7142
                        Coach/Teacher,          Bridgeport, WV
                        Bridgeport Middle       26330
                        School

 Sarah Starkey          MSW, LGSW, Social       445 W. Main Street   304-326-7300
                        Worker, Harrison        Clarksburg, WV
                        County Board of         26301
                        Education

 Tarra Shields          Principal, Norwood      8128 Kidd Ave        304-326-7050
                        Elementary School       Stonewood, WV
                                                26301

 Jasmine Lowther        Teacher, Norwood        8128 Kidd Ave        304-326-7050
                        Elementary School       Stonewood, WV
                                                26301

 Amber Davis            Guidance Counselor,     8128 Kidd Ave        304-326-7050
                        Harrison County         Stonewood, WV
                        School District         26301

 Lauren Merrill         Counselor, Bridgeport 413 Johnson Ave        304-326-7142
                        Middle School         Bridgeport, WV
                                              26330

 Tina DeMary            Nurse, Norwood          8128 Kidd Ave        304-326-7050
                        Elementary School       Stonewood, WV
                                                26301
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B.P.J.’s Supplemental Response to Interrogatory No. 5:

         Subject to and without waiving her General and Specific Objections, without waiver

thereof, and without conceding the relevance of this information, B.P.J. respectfully refers the

State to her response in Interrogatory No. 4.

B.P.J.’s Second Supplemental Response to Interrogatory No. 5:

         B.P.J. reiterates her specific objections stated in her initial response to Interrogatory

No. 5.

         In addition to her initial response, subject to the general and specific objections, and

without waiver thereof, B.P.J. supplements her response as follows:

 Name                         Position/Business        Address                 Phone Number
                              Affiliation

 David Mazza                  Principal, Bridgeport    413 Johnson Ave         304-326-7142
                              Middle School            Bridgeport, WV
                                                       26330

 Danyelle Schoonmaker         Cross-Country and        413 Johnson Ave         304-326-7142
                              Track Coach and          Bridgeport, WV
                              Teacher, Bridgeport      26330
                              Middle School

 Sarah Starkey                MSW, LGSW, Social        445 W. Main Street      304-326-7300
                              Worker, Harrison         Clarksburg, WV
                              County Board of          26301
                              Education

 Tarra Shields                Principal, Norwood       8128 Kidd Ave           304-326-7050
                              Elementary School        Stonewood, WV
                                                       26301

 Jasmine Lowther              Teacher, Norwood         8128 Kidd Ave           304-326-7050
                              Elementary School        Stonewood, WV
                                                       26301

 Amber Davis                  Guidance Counselor,      8128 Kidd Ave           304-326-7050
                              Harrison County          Stonewood, WV
                              School District          26301
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 Lauren Merrill              Counselor, Bridgeport 413 Johnson Ave             304-326-7142
                             Middle School         Bridgeport, WV
                                                   26330

 Tina DeMary                 Nurse, Norwood            8128 Kidd Ave           304-326-7050
                             Elementary School         Stonewood, WV
                                                       26301

 David Robinson              Track Coach,              413 Johnson             304-842-6251
                             Bridgeport Middle         Avenue
                             School                    Bridgeport, WV
                                                       26330

 Meghan Flesher              Track Coach,              413 Johnson             304-842-6251
                             Bridgeport Middle         Avenue
                             School                    Bridgeport, WV
                                                       26330



Interrogatory No. 6:

   6. Identify each and every preschool, public or private school, or other educational institution

       that B.P.J. has attended to date.

B.P.J.’s Response To Interrogatory No. 6:

       B.P.J. objects to this Interrogatory on the ground that it is overbroad, unduly burdensome,

and not proportional to the needs of the case, as it seeks the identification of all “educational

institution[s]” that B.P.J. has attended, regardless of whether those institutions are relevant to the

claims or defenses at issue in this action. B.P.J. further objects to this Interrogatory on the ground

that Defendant has failed to identify any limitation on period of time, and therefore Defendant

improperly seeks the production of information that is not material or necessary to any claim or

defense in this action. B.P.J. further objects to the phrase “other educational institution” as vague,

ambiguous, and overbroad.

       Subject to these general and specific objections, and without waiver thereof, B.P.J.

responds as follows:
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           •   Norwood Elementary School

           •   Bridgeport Middle School

Interrogatory No. 7:

   7. Identify each and every witness whom you intend to call at any hearing or at trial.

B.P.J.’s Response To Interrogatory No. 7:

       B.P.J. objects to this Interrogatory on the basis that it is premature and not reasonably

practicable for B.P.J. to identify “each and every” witness she intends to rely on at “any hearing”

or at trial prior to the completion of discovery.

       Subject to these general and specific objections, and without waiver thereof, B.P.J. will

provide appropriate, non-privileged information in response to this Interrogatory in accordance

with Federal Rule of Civil Procedure 26(a)(3) pursuant to the Court’s Scheduling Order (ECF No.

93) at the appropriate time.

Interrogatory No. 8:

   8. Identify all cases where any of Plaintiff’s counsel have used any of Plaintiff’s Experts (as

       defined in the Requests for Production below) and, as to each case, the expert(s) used.

B.P.J.’s Response To Interrogatory No. 8:

       B.P.J. objects to this Interrogatory on the basis that it is premature and not reasonably

practicable for B.P.J. to identify “all cases” of all of “Plaintiff’s Experts,” including those “who

[B.P.J.] may call to testify at trial or rely upon in future filings” prior to the completion of

discovery. In addition, B.P.J. objects to the phrase “used” as vague, ambiguous, and overbroad.

B.P.J. further objects on the ground that this interrogatory seeks information beyond the scope of

Federal Rule of Civil Procedure 26(a)(2)(B)(v).
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         Subject to these general and specific objections, and without waiver thereof, B.P.J. will

provide appropriate, non-privileged information in response to this Interrogatory in accordance

with Federal Rule of Civil Procedure 26(a)(2)(B)(v) pursuant to the Court’s Scheduling Order

(ECF No. 93) at the appropriate time.

Interrogatory No. 9:

    9. Name and identify all athletic teams or organized athletic activities, including but not

         limited to cheer, in which B.P.J has participated during the past 7 years.

B.P.J.’s Response To Interrogatory No. 9:

         B.P.J. objects to this Interrogatory on the grounds that the phrase “organized athletic

activities” is vague, ambiguous, and overbroad. B.P.J. further objects on the ground that this

Interrogatory is overbroad, unduly burdensome, and not proportional to the needs of the case, as

the time period of “the past 7 years” far exceeds any period relevant to this action and therefore

Defendant improperly seeks information that is not material or necessary to any claim or defense

in this action.

         Subject to these general and specific objections, and without waiver thereof, B.P.J.

responds as follows:

            •     Bridgeport Youth Football League Cheerleading Team

            •     Bridgeport Middle School Cross Country Team

B.P.J.’s Supplemental Response to Interrogatory No. 9:

         B.P.J. reiterates her specific objections stated in her initial response to Interrogatory

No. 9.

         In addition to her initial response, subject to the general and specific objections, and

without waiver thereof, B.P.J. supplements her response as follows:

    •    Bridgeport Youth Football League Cheerleading Team
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   •   Bridgeport Middle School Cross Country Team

   •   Bridgeport Middle School Track Team

       SPECIFIC OBJECTIONS AND RESPONSES TO DOCUMENT REQUESTS

       Without waiving or limiting in any manner any of the foregoing General Objections, but

rather incorporating them into each of the following responses to the extent applicable, Plaintiff

responds to the specific requests of Defendant’s First Set of Requests for Production of Documents

as follows:

Request for Documents No. 1:

   1. All documents or other record or recorded media that reflect or contain reports,

       correspondences, and records from (a) each and every Health Care Provider who has

       treated, examined, consulted with, conferred with or counseled with the Plaintiff at any

       point during the last 7 years, (b) each and every medical facility where the Plaintiff has

       been treated, examined, or otherwise attended or admitted either as an inpatient or as an

       outpatient at any point during the last 7 years, and (c) each and every Health Care Provider

       with whom any parent of Plaintiff has consulted, conferred or counseled regarding Plaintiff

       at any point during the last 7 years.

B.P.J.’s Response to Request for Documents No. 1:

       B.P.J. objects to this Request as overbroad, unduly burdensome, and not proportionate to

the needs of the case to the extent it requests “all” documents and records that “reflect” or “contain”

information regarding “each and every Health Care Provider” who has treated B.P.J. or “each and

every Heath Care Provider” with whom any parent of B.P.J. has consulted during the last 7 years.

In addition to being overbroad and unduly burdensome, B.P.J. further objects to the Request to the

extent that it seeks sensitive medical information unrelated to B.P.J.’s gender dysphoria diagnosis,

as B.P.J has specifically disclaimed any claim for damages based on emotional distress. B.P.J.
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further objects on the ground that the period of time of “the last 7 years” far exceeds any period

relevant to this action and therefore Defendant improperly seeks the production of documents that

are not material or necessary to any claim or defense in this action. B.P.J. additionally objects to

this Request to the extent that it seeks documents protected by any applicable psychotherapist-

patient privilege.

        Subject to these general and specific objections, and without waiver thereof, B.P.J. will

produce non-privileged documents showing B.P.J.’s treatment for gender dysphoria.

B.P.J.’s Supplemental Response to Request for Documents No. 1:

       B.P.J. reiterates her specific objections stated in her initial response to Request for

Documents No. 1, and objects to Request for Documents No. 1 as overbroad, seeking irrelevant

information, and not proportional to the needs of the case. As noted in correspondence between

the parties, this case involves a straightforward constitutional challenge to H.B. 3293’s exclusion

of transgender girls from girls’ sports teams, and there is no basis for turning this case into an

irrelevant medical examination of B.P.J.

       As noted in Plaintiff’s supplemental response to Interrogatory No. 1, during Plaintiff’s

investigation and active process of seeking medical records from her providers, Plaintiff identified

additional providers that had not been disclosed in her initial set of responses. Subject to and

without waiving her General and Specific Objections, without waiver thereof, B.P.J. has therefore

supplemented her production with medical records from these providers.

       Regarding medical records provided by Mr. Bunner, B.P.J. also objects to producing the

content of communications between B.P.J. and Mr. Bunner during therapy sessions as protected

by the psychotherapist-patient privilege.     Without conceding their relevance, Plaintiff has

produced unredacted versions of the documents subject to the Parties’ stipulation that producing
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such material does not constitute a waiver of privilege or otherwise affect Plaintiff’s right to object

to their further use or admission into evidence.

Request for Documents No. 2:

   2. All documents that reflect or contain the name, home address, or business address of all

        individuals contacted as potential witnesses for this litigation.

B.P.J.’s Response to Request for Documents No. 2:

        B.P.J. objects to this Request as seeking discovery of information or documents protected

by the attorney-client privilege and/or the attorney work-product doctrine. Defendant’s request

that B.P.J. identify “all documents” reflecting information regarding “all individuals” contacted as

“potential witnesses” directly seeks work product-protected material, because such documents

would disclose the thoughts, mental impressions, and strategic decisions of counsel.

        Subject to these general and specific objections, and without waiver thereof, B.P.J. will

disclose the identities of the witnesses she intends to rely upon in accordance with Federal Rule of

Civil Procedure 26(a)(3) pursuant to the Court’s Scheduling Order (ECF No. 93) at the appropriate

time.

Request for Documents No. 3:

   3. All documents that reflect or contain resumes or qualifications of all experts whose reports,

        publications, statements, or work have been cited by or included within any of Plaintiff’s

        filings in this matter or who you may call to testify at trial or rely upon in future filings

        (“Plaintiff’s Experts”). This includes without limitation Joshua D. Safer, Mary D. Fry, and

        Deanna Atkins.
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B.P.J.’s Response to Request for Documents No. 3:

       B.P.J. objects to this Request on the basis that it is premature, as it seeks documents and

information that will be produced in due course pursuant to the Court’s Scheduling Order filed on

September 8, 2021 (ECF No. 93). B.P.J. further objects to this Request on the basis that it is

premature and not reasonably practicable for B.P.J. to identify “each and every” witness or expert

she intends to rely on at “any hearing” or at trial prior to the completion of discovery. In addition,

B.P.J. objects to the phrase “reflect” as vague, ambiguous, and overbroad. B.P.J. further objects

on the ground that this interrogatory seeks information beyond the scope of Federal Rule of Civil

Procedure 26(a)(2)(B)(iv).

       Subject to these general and specific objections, and without waiver thereof, B.P.J. will

provide appropriate, non-privileged documents in response to this Request in accordance with

Federal Rule of Civil Procedure 26(a)(2)(B)(iv) pursuant to the Court’s Scheduling Order (ECF

No. 93) at the appropriate time.

Request for Documents No. 4:

   4. All correspondence or communications between you and any school authorities,

       employees, agents, or representatives or other public authorities, employees, agents, or

       representatives regarding Plaintiff, including, but not limited to communications regarding

       Plaintiff’s gender identity or gender dysphoria or Plaintiff’s participation in any athletic

       program or activity, and any recordings or records pertaining to such correspondence or

       communication.

B.P.J.’s Response to Request for Documents No. 4:

       B.P.J. objects to this Request as overbroad, unduly burdensome, and not proportionate to

the needs of the case to the extent it requests “all” correspondence or communications regarding
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B.P.J., regardless of whether they relate to B.P.J.’s gender dysphoria diagnosis and athletics. B.P.J.

further objects to this Request as overbroad, unduly burdensome, and not proportionate to the

needs of the case in that it seeks not only communications, but also documents pertaining to such

communications. In addition, B.P.J. objects to the phrases “school authorities,” “other public

authorities,” and “athletic program or activity” as vague, ambiguous, and overbroad. B.P.J.

additionally objects on the ground that Defendant has failed to identify any limitation on period of

time, and therefore Defendant improperly seeks the production of information that is not material

or necessary to any claim or defense in this action.

       Subject to these general and specific objections, and without waiver thereof, B.P.J. will

produce non-privileged communications from the past three years between herself and/or her

mother and school authorities at B.P.J.’s elementary and middle school regarding B.P.J.’s gender

dysphoria and participation on school athletics teams.

Request for Documents No. 5:

   5. All communications to or from Plaintiff, Plaintiff’s parents, or Plaintiff’s counsel to or

       from any of Plaintiff’s Experts or any other consultant or person who was contacted or

       interviewed to serve or potentially serve as an expert or consultant in this case.

B.P.J.’s Response to Request for Documents No. 5:

       B.P.J. objects to this Request as seeking discovery of information or documents that are

beyond the scope of expert discovery permitted by Federal Rule of Civil Procedure 26(b)(4) and

protected by the attorney-client privilege and/or the work-product doctrine. Defendant’s request

that B.P.J. identify “all communications” to or from persons who were “contacted or interviewed

to serve or potentially serve as an expert or consultant” in this litigation directly seeks work
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product-protected material, because such communications would disclose the thoughts, mental

impressions, and strategic decisions of counsel.

       Subject to these general and specific objections, and without waiver thereof, B.P.J. will

provide the required expert disclosures in response to this Request in accordance with Federal Rule

of Civil Procedure 26(a)(2)(B) pursuant to the Court’s Scheduling Order (ECF No. 93) at the

appropriate time.

Request for Documents No. 6:

   6. All documents that reflect or contain reports, draft reports, manuals, textbooks, policy

       sheets, communications or any other information sent by you to any expert, potential

       expert, witness, or potential witness in preparation for this litigation.

B.P.J.’s Response to Request for Documents No. 6:

       B.P.J. objects to this Request as seeking discovery of information or documents that are

beyond the scope of expert discovery permitted by Federal Rule of Civil Procedure 26(b)(4) and

protected by the attorney-client privilege and/or the attorney work-product doctrine. Defendant’s

request that B.P.J. provide “all documents” or “any other information” sent “in preparation for this

litigation” directly seeks work product-protected material, because such information would

disclose the thoughts, mental impressions, and strategic decisions of counsel.

       Subject to these general and specific objections, and without waiver thereof, B.P.J. will

provide the required expert disclosures in response to this Request in accordance with Federal Rule

of Civil Procedure 26(a)(2)(B) pursuant to the Court’s Scheduling Order (ECF No. 93) at the

appropriate time.
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Request for Documents No. 7:

   7. All documents of Plaintiff’s Experts with respect to cases or lawsuits in which any of the

       Plaintiff’s Experts has submitted declarations or affidavits or has testified as an expert at

       trial or by deposition.

B.P.J.’s Response to Request for Documents No. 7:

       B.P.J. objects to this Request because the request for “all documents of Plaintiff’s Experts

with respect to cases or lawsuits” is vague, ambiguous, and overbroad. B.P.J. further objects to

the extent that it exceeds the scope of Federal Rule of Civil Procedure 26(a)(2)(B)(v).

       Subject to these general and specific objections, and without waiver thereof, B.P.J. will

provide the required expert disclosures in response to this Request in accordance with Federal Rule

of Civil Procedure 26(a)(2)(B) pursuant to the Court’s Scheduling Order (ECF No. 93) at the

appropriate time.

Request for Documents No. 8:

   8. All documents that reflect or contain reports, draft reports, manuals, textbooks, policy

       sheets, communications or any other information which any expert, potential expert,

       witness, or potential witness has consulted or reviewed as a result of, or in preparation for

       this litigation or that person’s deposition or trial testimony.

B.P.J.’s Response to Request for Documents No. 8:

       B.P.J. objects to this Request on the basis that it is premature, as it seeks documents and

information that are beyond the scope of expert discovery permitted by Federal Rule of Civil

Procedure 26(b)(4) and protected by the attorney-client privilege and/or the work-product doctrine.

B.P.J. further objects to this Request on the basis that it is premature and not reasonably practicable
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for B.P.J. to identify documents consulted or reviewed as a result of, or in preparation for

“deposition” or “trial” prior to the completion of discovery.

       Subject to these general and specific objections, and without waiver thereof, B.P.J. will

provide the required expert disclosures in response to this Request in accordance with Federal Rule

of Civil Procedure 26(a)(2)(B) pursuant to the Court’s Scheduling Order (ECF No. 93) at the

appropriate time.

Request for Documents No. 9:

   9. All documents that reflect or contain literature, studies, journals, papers, pamphlets, or

       other publications upon which Plaintiff’s Experts have relied for their respective opinions,

       segregating said documents by the expert who has relied on said documents.

B.P.J.’s Response to Request for Documents No. 9:

       B.P.J. objects to this Request on the basis that it is premature, as it seeks documents and

information that will be produced in due course pursuant to the Court’s Scheduling Order filed on

September 8, 2021 (ECF No. 93). B.P.J. further objects to this Request on the basis that it is

premature and not reasonably practicable for B.P.J. to identify documents consulted or reviewed

as a result of, or in preparation for “deposition” or “trial” prior to the completion of discovery.

B.P.J. further objects to this Request to the extent that it is duplicative of Request No. 8.

       Subject to these general and specific objections, and without waiver thereof, B.P.J. will

provide the required expert disclosures in response to this Request in accordance with Federal Rule

of Civil Procedure 26(a)(2)(B) pursuant to the Court’s Scheduling Order (ECF No. 93) at the

appropriate time.
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Request for Documents No. 10:

   10. All documents that reflect or contain reports, drafts of reports, or any other testimonial

       material of Plaintiff’s Experts which they have prepared for this or any other litigation.

B.P.J.’s Response to Request for Documents No. 10:

       B.P.J. objects to this Request as seeking discovery of information or documents that are

beyond the scope of expert discovery permitted by Federal Rule of Civil Procedure 26(b)(4) and

protected by the attorney-client privilege and/or the work-product doctrine. Defendant’s request

that B.P.J. identify “all documents” “prepared for” litigation directly seeks work product-protected

material, because such documents would disclose the thoughts, mental impressions, and strategic

decisions of counsel. B.P.J. further objects to the extent that it exceeds the scope of Federal Rule

of Civil Procedure 26(a)(2)(B)(v).

       Subject to these general and specific objections, and without waiver thereof, B.P.J. will

provide the required expert disclosures in response to this Request in accordance with Federal Rule

of Civil Procedure 26(a)(2)(B) pursuant to the Court’s Scheduling Order (ECF No. 93) at the

appropriate time.

Request for Documents No. 11:

   11. All documents that reflect or contain the current fee schedule for each of Plaintiff’s Experts.

B.P.J.’s Response to Request for Documents No. 11:

       B.P.J. objects to this Request as seeking discovery of information or documents beyond

the scope of FRCP 26(a)(2)(B)(v) and FRCP 26(b)(4)(C)(i). Subject to these general and specific

objections, and without waiver thereof, B.P.J. responds that she will disclose the compensation to

be paid for each expert in accordance with FRCP 26(a)(2)(B)(vi) pursuant to the Court’s

Scheduling Order (ECF No. 93) at the appropriate time.
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Request for Documents No. 12:

   12. A complete copy of the entire file of each expert consulted in connection with this case,

       including any and all documents generated by said expert, copies of all photographs,

       videos, or depictions in the possession of the expert, copies of all notes, draft reports,

       demonstrations, all documents and authorities reviewed or relied upon by each said expert,

       a list of all cases in which the expert has been deposed or given trial testimony in the past

       five years, all articles authored by the expert, and compensation to be paid to the expert.

B.P.J.’s Response to Request for Documents No. 12:

       B.P.J. objects to this Request as seeking discovery of information or documents outside the

scope of Federal Rule of Civil Procedure 26(a)(2) and 26(b)(4) and protected by the attorney-client

privilege and/or the attorney work-product doctrine.

       Subject to these general and specific objections, and without waiver thereof, B.P.J. will

provide the required expert disclosures in response to this Request in accordance with Federal Rule

of Civil Procedure 26(a)(2)(B) pursuant to the Court’s Scheduling Order (ECF No. 93) at the

appropriate time.

Request for Documents No. 13:

   13. Any document issued by any government agency that identifies Plaintiff’s gender.

B.P.J.’s Response to Request for Documents No. 13:

       B.P.J. objects to this Request on the ground that it is overbroad, unduly burdensome, and

not relevant to the claims and defenses, as Defendant has failed to identify any limitation on period

of time, and therefore Defendant improperly seeks the production of information that is not

material or necessary to any claim or defense in this action. In addition, B.P.J. objects to the

phrases “gender” and “government agency” as vague, ambiguous, and overbroad.
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       Subject to these general and specific objections, and without waiver thereof, B.P.J. will

produce non-privileged documents responsive to this Request.

Request for Documents No. 14:

   14. A signed copy of the attached Medical Release form.

B.P.J.’s Response to Request for Documents No. 14:

       B.P.J. objects to this Request on the ground that Interrogatory No. 1 and Request for

Documents No. 1 are overbroad, unduly burdensome, and not relevant to the claims and defenses

in this action as currently written. B.P.J. further objects to this Request because it would allow

Defendants to access sensitive and private information without restrictions or further dissemination

of that information or other privacy protections. Subject to these general and specific objections,

and without waiver thereof, if B.P.J. and Defendant are able to agree upon the scope of

Interrogatory No. 1 and Request for Documents No. 1, B.P.J. will produce information and non-

privileged documents responsive to Request for Documents No. 1 and Interrogatory No. 1 that will

render Request for Documents No. 14 unnecessary.

Request for Documents No. 15:

   15. A signed copy of the attached FERPA Consent to Release Student Information forms, with

       the missing information filled in.

B.P.J.’s Response to Request for Documents No. 15:

       B.P.J. objects to this Request on the ground that Interrogatory Nos. 3, 5, 6 and Request for

Documents No. 4 are overbroad, unduly burdensome, and not relevant to the claims and defenses

in this action as currently written. B.P.J. further objects to this Request because it would allow

Defendant to access sensitive and private information without restrictions or further dissemination

of that information or other privacy protections. Subject to these general and specific objections,
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and without waiver thereof, if B.P.J. and Defendant are able to agree upon the scope of

Interrogatory Nos. 3, 5, 6 and Request for Documents No. 4, B.P.J. will produce non-privileged

documents responsive to those Requests that will render Request for Documents No. 15

unnecessary.

Request for Documents No. 16:

   16. Copies of all documents and materials produced in response to and any written responses

       to any discovery requests to Plaintiff from any other party in this matter.

B.P.J.’s Response to Request for Documents No. 16:

       Subject to the general objections, and without waiver thereof, B.P.J. will produce non-

privileged documents responsive to this Request.

Request for Documents No. 17:

   17. Copies of all documents and materials received or obtained via any subpoena in this matter.

B.P.J.’s Response to Request for Documents No. 17:

       Subject to the general objections, and without waiver thereof, B.P.J. will produce non-

privileged documents responsive to this Request and relevant to the claims in this case.

Request for Documents No. 18:

   18. Copies of all documents and materials received or obtained via a Freedom of Information

       Act request submitted to Defendant, West Virginia State Board of Education; Defendant,

       Harrison County Board of Education; or any state officer, official, agency, or entity

       regarding Plaintiff, H.B. 3293, or W. Va. Code § 18-2-25d.

B.P.J.’s Response to Request for Documents No. 18:

       Subject to the general objections, and without waiver thereof, B.P.J. will produce non-

privileged documents responsive to this Request and relevant to the claims in this case.
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 Dated: April 1, 2022                    Respectfully submitted,
                                         /s/ Loree Stark
 Joshua Block*
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                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                               CHARLESTON DIVISION

 B.P.J. by her next friend and mother, HEATHER
 JACKSON,

                              Plaintiff,

                        v.                                  Civil Action No. 2:21-cv-00316

 WEST VIRGINIA STATE BOARD OF                               Hon. Joseph R. Goodwin
 EDUCATION, HARRISON COUNTY BOARD OF
 EDUCATION, WEST VIRGINIA SECONDARY
 SCHOOL ACTIVITIES COMMISSION, W.
 CLAYTON BURCH in his official capacity as State
 Superintendent, DORA STUTLER in her official
 capacity as Harrison County Superintendent, and
 THE STATE OF WEST VIRGINIA,

                              Defendants,

                        and

 LAINEY ARMISTEAD,

                              Defendant-Intervenor.


                                           VERIFICATION

        After being first duly sworn, I, Heather Jackson, depose and say that I have read the

foregoing responses in Plaintiff’s Second Set of Supplemental Responses and Objections to

Defendant the State of West Virginia’s First Set of Interrogatories and Requests for Production

dated April 1, 2022 and know its contents. The foregoing is true to my knowledge, except to those

matters stated to be alleged on information and belief, and as to those matters I believe them to be

true.

                                                             ______________________

                                                             Heather Jackson

                                                 1
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STATE OF WEST VIRGINIA,

            Harrison
COUNTY OF _______________, to-wit:

      Taken, subscribed and sworn to before me, the undersigned Notary Public, this date,
   April 1, 2022
________________________.

My commission expires:




                                           2
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                                            Video Meeting
Video ID: tapfWqpJQ2, Recording URL: https://ds4u.cc/tapfWqpJQ2, Passcode: 0272
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                                            Video Meeting
Video ID: tapfWqpJQ2, Recording URL: https://ds4u.cc/tapfWqpJQ2, Passcode: 0272
